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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

 RENATA SINGLETON,
 MARC MITCHELL,
 LAZONIA BAHAM,
 JANE DOE,
 TIFFANY LACROIX,
 FAYONA BAILEY,
 JOHN ROE, and                                   CIVIL ACTION NO. 2:17-cv-10721
 SILENCE IS VIOLENCE,

        Plaintiffs,                              JUDGE: JANE TRICHE MILAZZO

            v.
                                                 MAGISTRATE: JANIS VAN MEERVELD
 LEON CANNIZZARO, in his official
 capacity as District Attorney of Orleans
 Parish and in his individual capacity;

 DAVID PIPES,
 IAIN DOVER,
 JASON NAPOLI,
 ARTHUR MITCHELL,
 TIFFANY TUCKER,
 MICHAEL TRUMMEL,
 MATTHEW HAMILTON,
 INGA PETROVICH,
 LAURA RODRIGUE,
 SARAH DAWKINS, and
 JOHN DOE,
 in their individual capacities;

        Defendants.


    PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL
                             AUTHORITY

       Plaintiffs respectfully provide this response to the Defendants’ Notice of Supplemental

Authority, Doc. No. 111, discussing the Fifth Circuit’s October 15, 2018, opinion in Moon v.

City of El Paso, 906 F.3d 352 (5th Cir. 2018).




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       Moon does not provide any new authority to supplement the Defendants’ position. As it

made clear in its decision, the Fifth Circuit believed that its decision in Moon was a

straightforward application of long-standing Supreme Court precedent. Nothing in Moon

extended, interpreted, or even analyzed that precedent. Indeed, there was no occasion to do so; at

bottom, Moon presented a recurring fact pattern about which the Supreme Court has already

opined. The decision therefore changes nothing; the arguments that the Plaintiffs and the amici

presented in their earlier briefing stand as firmly as they did the day they were made.

       Defendants argue that Moon supports their argument “that absolute immunity applies to

all of the conduct alleged in this case, even if it might be described as ‘investigative’ or

‘administrative’ in some sense.” Defs’ Notice, Doc. 111, at 2. Indeed, Defendants seem to imply

that Plaintiffs’ contention that absolute immunity does not protect investigative or administrative

acts is a novel legal theory. It is not. See, e.g., Buckley v. Fitzsimmons, 509 U.S. 259, 273-74

(1993) (explaining that a prosecutor is not entitled to absolute immunity where she “‘functions as

an administrator rather than as an officer of the court’” or where he “performs the investigative

functions normally performed by a detective or police officer”) (quoting Imbler v. Pachtman,

424 U.S. 409, 431 n.33 (1976)).

       The court in Moon reaffirmed that “[g]enerally, a prosecutor does not enjoy absolute

immunity when performing administrative or investigation functions.” Moon, 906 F.3d at 359.

Quoting the U.S. Supreme Court’s decision in Van de Kamp v. Goldstein, 555 U.S. 335 (2009),

the Moon court noted that an exception to this general principle applies where an “apparently

administrative or investigative function … ‘require[s] legal knowledge and the exercise of

related discretion.’” Id. (emphasis in original) (quoting Van de Kamp, 555 U.S. at 344).




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       Applying these principles, the court found that the prosecutor’s alleged misconduct

involved legal reasoning and discretion, and it was therefore shielded by absolute immunity. The

Moon prosecutor’s first alleged act of misconduct—making a false argument in a court filing—

stemmed “from a legal argument the State made in opposition [to a] habeas petition.” Id. at 360.

The prosecutor’s second alleged act of misconduct—deciding not to disclose evidence because

he concluded that it was not exculpatory—was “based on his legal knowledge and experience,”

and constituted an “exercise[]” of his “discretion.” Id.1

       By this same reasoning, Moon underscores why the wrongful conduct in the instant case

should not be afforded immunity. The conduct at issue here—pursuing or questioning witnesses

and attesting to investigatory narratives in sworn declarations—did not “require[] legal

knowledge [or] the exercise of related discretion.” Id. at 359 (quoting Van de Kamp, 555 U.S. at

344). It could have been performed by other actors who are not immune, like police officers or

investigators. As the U.S. Supreme Court has repeatedly explained, and as Moon affirms, where

the “prosecutor performs the investigative functions normally performed by a detective or police

officer” or “functions as an administrator rather than an officer of the court,” she “is in no

different position than other executive officials . . . qualified immunity is the norm for them.”

Buckley v. Fitzsimmons, 509 U.S. at 273, 278.




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  The allegations against the prosecutor in Moon are very similar to the factual allegations at the
heart of the U.S. Supreme Court’s decisions in Imbler and Van de Kamp. In those cases, the
Supreme Court afforded absolute immunity, respectively, to prosecutors accused of presenting
false testimony at trial and to those whose procedures were alleged to be insufficient to ensure
that criminal defendants received exculpatory evidence. That is exactly how the Fifth Circuit
viewed the allegations in Moon. See Moon, 906 F.3d at 360 (“[the decision-making process—
whether to turn over non-exonerative post-conviction evidence—was precisely the type of
prosecutorial function the Supreme Court envisioned in Van de Kamp.”).


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       The Fifth Circuit in Moon thus did not move the line between conduct that is afforded

absolute prosecutorial immunity and conduct that is not. The Fifth Circuit did not even analyze

the line. Nor did it need to; the allegations in Moon fell squarely on one side of that line.

However, as the Plaintiffs have explained in their earlier briefing, the misconduct alleged in this

case falls squarely on the other side of that line. We will thus end as we began; there is nothing

new in Moon.

                               Respectfully submitted this 21st day of November, 2018,

/s/ Anna Arceneaux                                             Katherine Chamblee-Ryan*
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COUNSEL FOR PLAINTIFFS

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of November, 2018, a copy of the foregoing was

filed electronically with the Clerk of Court using the CM/ECF system, and that service will be

provided through the CM/ECF system.

                                                           /s/ Mariana Kovel
